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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

 STATE OF TEXAS, et al.,     §
                             §
      Plaintiffs,            §
                             §
   v.                        §                      No. 3:23-cv-17 (consolidated
                             §                      with No. 3:23-cv-20)
                             §
 UNITED STATES ENVIRONMENTAL §
 PROTECTION AGENCY, et al.,  §
                             §
      Defendants,            §
                             §
 BAYOU CITY WATERKEEPER,     §
                             §
      Intervenor-Defendant.  §


                   FEDERAL DEFENDANTS’ STATUS REPORT

      Pursuant to this Court’s July 10 Order, Dkt. No. 81, Federal Defendants (“the

Agencies”) submit this 45-day status report.

      1.     In these consolidated cases, Plaintiffs challenge the Revised Definition of

“Waters of the United States,” 88 Fed. Reg. 3004 (“2023 Rule” or “Rule”).

      2.     Plaintiffs, the State of Texas, five Texas state agencies, and the State of

Idaho (“States”), and eighteen trade associations (“Associations”) moved to preliminarily

enjoin the Rule. On March 19, this Court granted the States’ motion and denied the

Associations’ motion. Dkt. No. 60 at 2.

      3.     As a result of this Court’s March 19 Order, as well as the District of North

Dakota’s order in West Virginia v. EPA, No. 3:23-cv-0032 (D.N.D.), Dkt. No. 131, and


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the Sixth Circuit’s order in Kentucky v. EPA, No. 23-5345 (6th Cir.), Dkt. No. 28, the

2023 Rule is currently enjoined in 27 states, including Texas and Idaho. See Mot. to Stay

Case, Dkt. No. 80 at 1-2 (Background).

       4.     On May 25, the Supreme Court issued its ruling in Sackett v. EPA, 143 S.

Ct. 1322 (2023), which addresses the standard for determining what constitutes “waters

of the United States.” Shortly thereafter, the Agencies publicly stated that they are

interpreting the phrase “waters of the United States” consistent with Sackett. See Dkt. No.

80-1, Declaration of Radhika Fox ¶¶ 7-8 (“Fox Decl.”); Dkt. No 80-2, Declaration of

Michael L. Connor ¶¶ 6-7 (“Connor Decl.”).

       5.     In June, the Agencies announced that they are developing a new rule to

conform the definition of “waters of the United States” with Sackett, and that the

Agencies intend to issue a final rule on or before September 1, 2023. Fox Decl. ¶¶ 9-10;

Connor Decl. ¶¶ 8-9; see also EPA, Amendments to the 2023 Rule,

https://www.epa.gov/wotus/amendments-2023-rule (last visited Aug. 24, 2023); Corps,

UPDATED Supreme Court Ruling in Sackett v. Environmental Protection Agency,

https://www.usace.army.mil/Media/Announcements/Article/3440421/27-june-2023-

update-supreme-court-ruling-in-sackett-v-environmental-protection/ (June 27, 2023).

       6.     Plaintiffs filed motions for summary judgment on June 28. Dkt. Nos. 78 &

79.

       7.     The Agencies sought a stay of these consolidated cases until after the new

rule is published, Dkt. No. 80, which this Court granted, Dkt. No. 81.



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       8.      All litigation challenging the 2023 Rule is currently stayed until after the

new rule is published. See Dkt. No. 81; Texas v. EPA, No. 23-40306, Dkt. No. 29-2 (5th

Cir.); West Virginia v. EPA, No. 3:23-cv-32, Dkt. No. 151 (D.N.D.); West Virginia v.

EPA, No. 23-2411, Dkt. No. 5296015 (8th Cir.); Kentucky v. EPA, No. 23-5343, Dkt. No.

28, consolidated with 23-5345, Dkt. No. 32 (6th Cir.) (orders granting stays).

       9.      The Office of Management and Budget received the new rule, titled

Amendments to the “Revised Definition of ‘Waters of the United States,’” on July 17.

OMB, https://www.reginfo.gov/public/do/eoDetails?rrid=324261 (last visited Aug. 22,

2023). The new rule cleared regulatory review on August 17. Id.

       10.     The Agencies intend to sign the new rule by September 1. The Agencies

will then submit the rule for publication in the Federal Register. Fox Decl. ¶ 10; Connor

Decl. ¶ 9.

       11.     The Agencies will promptly notify the Court and the Parties when the new

rule is published in the Federal Register. The Agencies will confer with the Parties to

submit a proposal or proposals for further proceedings within 21 days after the new rule’s

publication.

       12.     The Agencies will submit a status report on or before October 10, 2023, if

the new rule has not yet been published in the Federal Register, and every 45 days

thereafter for the duration of the stay.

                                               Respectfully submitted,

                                               TODD KIM
                                               Assistant Attorney General


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                                     RESOURCES DIVISION
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                            CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2023, I filed the foregoing using the Court’s

CM/ECF system, which will electronically serve all counsel of record registered to use

the CM/ECF system.


                                                  /s/ Sonya J. Shea
